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F"-EU B\’ _\1'.£‘:._] n.o.

|N THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE

 

wEsTERN Dl\/lsloN 05 SEP '2 PH 5= 25
uNlTED sTATEs oF AMERicA CU§%§ U$. mer
Plaintiff
vs.
cR. No. 05-20234-0
wlLl_lE El_l_ls
Defendant.

 

ORDER ON CONT|NUANCE AND SPECFFY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on August 25, 2005. At that time, counsel for
the defendant requested a continuance of the September 6. 2005 triai date in order to
allow for additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a
[_e_port date of Thursdav. October 27. 2005. at 9:00 a.m.. in Courtroom 3. 9th F|oor of
the Federa| Bui|ding, Nlemphis, TN.

The period from August 25, 2005 through November 18, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

|T IS SO ORDERED this _M day Of September, 2005.

 

N|TED STATES D|STR|CT JUDGE

Thls document entered on the docket eet compliance
with Huie j~` :1r1::ilr)r32lb) FF’.CrP on z" § :Q, § / é

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:05-CR-20234 Was distributed by faX, mail, or direct printing on
September 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

